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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION


OSCAR STILLEY                                                                    PLAINTIFF,

v.                                          CIVIL ACTION NO. 3:19-cv-00006-HTW-LRA

WARDEN C. RIVERS,                                                             DEFENDANTS.
et al.


                         NOTICE OF WITHDRAWAL OF COUNSEL

       Defendants Warden C. Rivers, Director J. F. Caraway, Director J. A. Keller, Federal

Bureau of Prisons, the United States of America, U.S. Attorney General William Barr, former

complex Warden David Paul, and Director Kathleen Hawk Sawyer, through their attorneys, D.

Michael Hurst, Jr., United States Attorney, and the undersigned Assistant United States Attorney

(AUSA) for the Southern District of Mississippi, hereby submits this Notice of Withdrawal of

Counsel.

       Effective September 26, 2020, the undersigned Assistant United States Attorney, Marc A.

Perez, will no longer be with the U.S. Department of Justice and will no longer be counsel of

record in this case.
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       AUSA Perez is hereby withdrawn as counsel, and future ECF notifications to him should

be terminated.

       September 22, 2020.                         Respectfully submitted,
                                                   D. MICHAEL HURST, JR.
                                                   United States Attorney
                                            By:    MARC A. PEREZ
                                                   Assistant United States Attorney
                                                   WA Bar No. 33907
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                                                   Email:         Marc.Perez@usdoj.gov



                               CERTIFICATE OF SERVICE
       I, MARC A. PEREZ, Assistant United States Attorney, hereby certify that, on this date, I

caused the foregoing document to be filed electronically with the Clerk of Court, using the

CM/ECF system, which will send notifications to all counsel of record.

       September 22, 2020                          MARC A. PEREZ
                                                   Assistant United States Attorney
